
JUSTICE RICE
concurring in part and dissenting in part.
¶45 I concur with the Court’s holding in Issue 1 and with the Court’s holdings in regard to the underinsured motorist definition and offset provision under Issue 2. For the reasons set forth in my concurring and dissenting opinion in Hardy v. Progressive Specialty Insurance Co., 2003 MT 85, 315 Mont. 107, 67 P.3d 892, I disagree with the Court’s discussion of the anti-stacking provision under Issue 2 and would affirm the District Court’s order as to that provision of the policy.
CHIEF JUSTICE GRAY joins in the concurring and dissenting opinion of JUSTICE RICE.
